         Case 2:08-cr-00389-TLN Document 77 Filed 02/11/09 Page 1 of 2


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 4
     Attorney for Defendant: KEOOUDONE NOY PHAOUTHOUM
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 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,    )      Crim. S-08-389 GEB
11                                )
                       Plaintiff, )
12                                )      STIPULATION AND
                v.                ) PROPOSED ORDER THEREON
13                                )
     KEOOUDONE NOY PHAOUTHOUM, )
14                                )
                     Defendant,   )   (Continuing Status to 5/1/09)
15                                )
16         It is hereby stipulated between counsel for the government and all defendants,
17   except Bounhavee Nerasin, that the status conference presently scheduled for February
18   6, 2009 may be continued until May 1, 2009 at 9:00 a.m. The above captioned case is
19   one of six related cases and involves multiple wiretaps. Several defense counsel have
20   clients in more than one case with extensive, and overlapping discovery. The process
21   of discovery, and the review thereof, is ongoing. The time request in this stipulation is
22   reasonably necessary to facilitate defense preparation. Because of the number of
23   defendants in these related cases the government and defense are intentionally setting
24   these related cases on different days for the convenience of the Marshal’s Service.
25   Counsel for all defendants, except as noted above, have approved the submission of the
26   stipulation on behalf of their respective clients.
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        Case 2:08-cr-00389-TLN Document 77 Filed 02/11/09 Page 2 of 2


 1         It is further stipulated that the time between February 6, 2009 and May 1, 2009
 2   can appropriately be excluded from the Speedy Trial Act pursuant to 18 USC §
 3   3161(h)(8)(B)(iv) (Local Code T-4) and § 3161 (h)(8)(B)(ii) (Local Code T-2).
 4   Dated: February 5, 2009                           Dated: February 5, 2009
 5
 6   / s / Steven D. Bauer                             / s / Michael Beckwith
     STEVEN D. BAUER                                   MICHAEL BECKWITH
 7
     For Good Cause Appearing
 8
     IT IS SO ORDERED
 9
10   Dated: February 9, 2009

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12                                       GARLAND E. BURRELL, JR.
13                                       United States District Judge

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